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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MINNESOTA


In re:                                                       Bankruptcy No.: 17-43213

Donald Andrew Driggs,                                        Chapter 11

               Debtor.



                   NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


          Pursuant to Bankruptcy Rules 9010(b) and 2002(g), and Local Rules 2002-5 and 9013-3, the
undersigned hereby gives notice of his appearance on behalf of Kruckeberg Real Estate Holdings,
LLC, and requests that a copy of all notices given and all papers (including pleadings, motions,
applications, orders and reports) served or filed in this case be served upon the undersigned at the
office address, facsimile number or email address set forth below.
          Neither this Notice of Appearance nor any subsequent appearance, pleading, claim or suit is
intended to waive nor does it waive (1) any right to have final orders in non-core matters entered only
after de novo review by a U.S. District Court judge; (ii) any right to a jury trial in any case,
controversy or proceeding related hereto; (iii) any right to have the reference withdrawn by the U.S.
District Court in any manner subject to mandatory or discretionary withdrawal; or (iv) any other
rights, claims, actions, defenses, setoffs or recoupments, at law or in equity, all of which are
expressly reserved.


Date: November 1, 2017                          GRAY, PLANT, MOOTY,
                                                 MOOTY & BENNETT, P.A.

                                                /s/ P. Jason Thibodeaux                         .
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